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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                  EASTERN DISTRICT OF NEW YORK
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 PleasrDAO, an exempted foundation company,                     :
                                                                :
                            Plaintiff,                          : Case No. 24-cv-04126
                                                                :
                                                                :
                                                                :
                            v.                                  :
                                                                :
 Martin Shkreli,                                                :
                                                                :
                            Defendant.                          :
 --------------------------------------------------------------x

                          DECLARATION OF MATTHEW MATKOV

        I, Matthew Matkov, hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

 as follows:

        1.      I am currently lead at PleasrDAO and am authorized to make this declaration on

 behalf of PleasrDAO. I submit this Declaration in support of PleasrDAO’s Application for

 Temporary Restraining Order, Preliminary Injunction, Order Seizing Assets, and Order for

 Disgorgement and Accounting. The following information is true to the best of my personal

 knowledge, except as to facts asserted on information and belief.

        2.      PleasrDAO is an exempted foundation company established in the Cayman Islands

 with a registered office at Cricket Square, Hutchins Drives, P.O. Box 2681, Grand Cayman, KY1-

 1111, Cayman Islands.

        3.      PleasrDAO collects and publicly displays culturally significant media and materials

 with the intent of creating ecosystem experiences that encourage participation and interaction

 throughout the United States and other countries. PleasrDAO has built a reputation of funding

 important movements, charities, and causes in various, modern ways.



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 A.        The Album and Related Transactions

           4.      I understand that the Wu-Tang Clan (“Wu-Tang”) and producer Tarik “Cilvaringz”

 Azzougarh (“Azzougarh”) co-created the world’s first single-copy album “Once Upon a Time in

 Shaolin.” Wu-Tang recorded Once Upon a Time in Shaolin from 2007 to 2013, which is a secret

 31-track compilation featuring guest appearances from notable individuals such as musical artists,

 celebrity actors, and professional athletes. Once Upon a Time in Shaolin was a protest to what its

 creators and producers saw as the devaluation of music in the digital era. A true and correct copy

 of the official album website is attached as Exhibit A.

           5.      The recordings on Once Upon a Time in Shaolin (i.e., its data and files) were

 intended to be unknown to anyone other than its producers, creators, and its subsequent owners.

 Those data and files are not generally known to the general public.

           6.      I understand that, on September 3, 2015, Shkreli purchased Once Upon a Time in

 Shaolin and the rights, restrictions, and obligations appurtenant to the Album’s use, sale, and

 transferability (collectively, the “Album”) from Wu-Tang leader Robert “RZA” Diggs and

 producer, Azzougarh, for a reported sum of $2,000,000. A true and correct redacted copy of RZA,

 Azzougarh, and Martin Shkreli’s September 3, 2015 purchase agreement is attached as Exhibit B

 (the “Original Purchase Agreement”).

           7.      I further understand that, at that time, the sale made the Album the single most

 expensive musical work ever sold, certified by the Guinness Book Of World Records. A true and

 correct        copy   of    the    Guinness      World     Record     webpage,     available    at

 https://www.guinnessworldrecords.com/world-records/360608-most-valuable-album, is attached

 as Exhibit C.




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         8.      Upon information and belief, Shkreli forfeited the Album to the United States as a

 term of his sentence for his criminal conviction of securities fraud in 2018. A true and correct copy

 of the Forfeiture Order is attached as Exhibit D.

         9.      PleasrDAO acquired the Album in two transactions. In July 2021, it bought the

 physical asset and exclusive right to play the audio tracks for approximately $4,000,000. In January

 2024, it bought the copyrights in and exclusive right to exploit the recordings for approximately

 $750,000. Through these transactions, PleasrDAO received a copy of the Original Purchase

 Agreement.

         10.     According to its website, on July 27, 2021, the Department of Justice published an

 article entitled “United States Sells Unique Wu-Tang Clan Album Forfeited by Convicted Hedge

 Fund Manager Martin Shkreli.” The article is available at https://www.justice.gov/usao-

 edny/pr/united-states-sells-unique-wu-tang-clan-album-forfeited-convicted-hedge-fund-manager.

 A true and correct copy of the article can be found at Exhibit E.

         11.     At all relevant times, PleasrDAO moved the Album by secure transport and/or kept

 in a secure location. The security measures undertaken included the use of armed security guards,

 secure entrance and exit points, and continual video surveillance, oversight and checks on the

 Album’s condition. Other than when in use by its members, PleasrDAO has stored the Album in

 a secure facility.

         12.     PleasrDAO acquired the Album with the intent of creating a membership based

 NFT ecosystem, distributing NFTs representing access to the members-only ecosystem, and

 arranging private performances of the data and files throughout the world.

 B.      Shkreli’s Social Media Activity

         13.     Upon information and belief, Shkreli has maintained an active social media

 presence before, during, and after his release from prison in May 2022.
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        14.     Upon information and belief, Martin Shkreli runs and operates the social media

 account on Facebook at https://www.facebook.com/martinshkr/. This account has made several

 posts, including:

               a. A post, dated July 27, 2017, stating “My case is a silly witch hunt perpetrated

                     by self-serving prosecutors. Thankfully my amazing attorney sent them back to

                     junior varsity where they belong. Drain the swamp. Drain the sewer that is the

                     DOJ. MAGA.” A true and correct copy of the post is available at

                     https://www.facebook.com/martinshkr /posts/10101570221131225.

               b. A post, dated September 5, 2017, stating “I am selling the Wu-Tang Clan album.

                     Fuck Wu-Tang.” A true and correct copy of the post is available at

                     https://www.facebook.com/martinshkr/ posts/10101607387838845.

               c. A post, dated September 7, 2017, stating “Fuck the government. I will never kiss

                     their ring or snitch. Come at me with your hardest because I haven’t seen

                     anything impressive yet.” A true and correct copy of the post is available at

                     https://www.facebook.com/ martinshkr/posts/10101609184398525.

               d. A post, dated December 9, 2018, stating “The insecure bureaucrats at the EDNY

                     are at it again, arresting a well-respected Chinese CFO in an attempt to calm

                     what is clearly an organizational inferiority complex. The government’s “law

                     enforcement” apparatus (a Police State-Leviathan) is out of control. Aren’t there

                     enough American criminals? Do we really have to expand to China, telling

                     Chinese companies what they can and can’t do? The arrogance of those who

                     desperately desire power and will hammer anything into a nail with no poise or

                     regard for common sense is harmful to our country. We have more people



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                incarcerated per capita than anywhere on planet earth. Cut the DOJ in half and

                force prosecutors to focus on crimes that matter. Not “frauds” with 5x returns

                (my case), “violent drug dealers” (50%+ of those incarcerated), or Chinese doing

                business in Iran. What else? Hire judges who aren’t former prosecutors. Don’t

                let the government “go first” in presenting their case, and “go twice” in closing

                arguments. Make jury instructions simple. Let juries weigh in on punishment.

                We need serious reform--the legal system is far from perfect and

                experimentation is what democracy is all about. We change our healthcare

                system faster than dirty underwear, but structural changes to criminal justice are

                quite slow. I certainly didn’t want to be a part of this “movement”, but I happily

                join Meek Mill and the millions of other felons (and their loved ones) who are

                scratching their heads at the state of affairs we find ourselves in. (posted by a

                friend)[.]” A true and correct copy of the post is available at

                https://www.facebook.com/ martinshkr/posts/10101973940883605.

             e. A post, dated January 25, 2019, stating “Memo to Roger Stone Jr. Jail is not that

                bad. Play cards and trade war stories all day. Fight the case if you want, but the

                system is so rigged, it’s probably better to make a polite mockery of the “justice”

                system than hang on to the 1% chance you can beat illegal Brady suppression,

                FBI coercion, jury “instructions”, two prosecutor closing statements, media

                leaks and trial-by-public-opinion, FBI agents getting to take the witness stand,

                etc. “A crime a day” is a good resource to see how easy it is for the malefactors

                that be to find a “crime” you’ve committed. After all, you’re joining 70 million

                US citizens who share the honorable distinction of criminal, including yours



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                   truly. Here is hoping a supra-judiciary entity will intervene in your case. Love,

                   Martin Shkreli P.S. Never, ever, ever snitch. (posted by a friend)[.]” A true and

                   correct      copy        of       the      post       is       available       at

                   https://www.facebook.com/martinshkr/posts/10102010190658765.

 True and correct copies of these Facebook posts are attached as Exhibit F.

        15.     Upon information and belief, Shkreli frequently participates in “live stream”

 activity, including on Discord, X (formerly Twitter) and YouTube. During his live streams, Shkreli

 often shares his computer screen with his audience while he engages in online activities including

 virtual reality computer games and attempts to meet women through online dating.

        16.     Upon information and belief, live streamers often make money through viewership

 either by advertising revenue or paid channel memberships. YouTube is one platform where

 individuals can stream content. According to YouTube’s website, “[l]ive streaming on YouTube

 offers multiple ways to build your business, with monetization options like Advertising Revenue,

 Super Chat & Super Stickers, and Channel Memberships—including Membership Gifting.” A true

 and correct copy of the webpage, which is available at https://www.youtube.com/creators/live-

 streaming-on-youtube/#:~:text=Live%20streaming%20on%20YouTube%20offers,paid%

 20doing%20what%20you%20love, is attached as Exhibit G.

        17.     Upon information and belief, Martin Shkreli currently runs and operates the

 YouTube      channel   at   https://www.youtube.com/channel/UCjYKsjt-7EDU78KEcVbhYnQ.

 According to this webpage, the channel has over fifty-seven thousand subscribers.

        18.     Upon information and belief, Martin Shkreli played certain files from the Album

 over his YouTube live streams. The archived videos from these streams have either since been

 restricted in access or removed from YouTube. I have been told, however, that:



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               a. On or about June 18, 2022, Shkreli played certain files from the Album during

                   one of his YouTube live streams. Shkreli made comments during the video that

                   the file(s) were from the Album. He stated, “Yeah, that’s the Wu Tang album

                   for all you crazy streamer people.” A link to the video was previously accessible

                   at https://m.youtube.com/watch?v=YkOai1aOq9s. This YouTube video is no

                   longer accessible, however, and the webpage now reads: “If the owner of this

                   video has granted you access, please sign in.”

               b. On or about June 22, 2022, during another live stream on YouTube, Shkreli was

                   asked if he still has a copy of Once Upon a Time in Shaolin. Shkreli said, “I do.

                   I was playing it on YouTube the other night even though somebody paid $4

                   million for it.” A link to the video was previously accessible at

                   https://m.youtube.com/watch?v=JB-XaDZgK_8&t=2235s&pp=2AG7EZACA

                   Q%3D%3D. This YouTube video is no longer accessible, however, and now

                   reads: “This video is no longer available because the YouTube account

                   associated with this video has been terminated.”

               c. On June 30, 2022, during another live stream, Shkreli again apparently played a

                   portion of the Album and further admitted to having retained a copy of the

                   Album. He said: “of course I made MP3 copies, they’re like hidden in safes all

                   around the world . . . I’m not stupid. I don’t buy something for two million

                   dollars just so I can keep one copy.”

        19.     Upon information and belief, Martin Shkreli runs and operates a blog on Substack

 at https://martinshkreli.substack.com/. A post on this website dated May 24, 2023 states, in part,

 “Bloomberg mentioned that I used to sip fine wines. Well, I still do. They mentioned my art



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 collection. Still have that, too. The Wu-Tang album was brought up. I timed the sale of the album

 to take advantage of the NFT boom and made a great profit and still kept the mp3s, which I’ve

 played online a number of times since returning.” The blog post is available at

 https://martinshkreli.substack.com/p/how-the-media-lies-about-me-bloomberg?utm_source=

 publication-search. A true and correct copy of the webpage is attached as Exhibit H.

        20.    Andrew Lloyd is a PleasrDAO member. Upon information and belief, Mr. Lloyd

 operates the X account @androolloyd. On April 13, 2024, the X account @androolloyd posted a

 photo of the Album on X with the caption, “If you wondered why it was so quiet on Twitter.

 There’s a lot of us that were listening to this.” The X post is available at

 https://twitter.com/androolloyd/status/1779149127663677617. The same day, an X account

 named @MartinShkreli commented on Mr. Lloyd’s X post several times, stating the following:

               a.   “LOL i have the mp3s you moron[.]” The comment is available at

                    https://x.com/MartinShkreli/status/1779238901795701005.

               b. “i literally play it in my discord all the time. you’re an idiot[.]” The comment is

                    available at https://twitter.com/MartinShkreli/status/1779290712229491078?re

                    f_src=twsrc%5Etfw.

               c. “this thread is about someone listening to a CD > 5000 people have . . . .” The

                    comment is available at https://twitter.com/MartinShkreli/status/17792916982

                    09722631?ref_src=twsrc%5Etfw.

 A true and correct copy of Mr. Lloyd’s post and these comments is attached as Exhibit I. It is my

 understanding that Martin Shkreli runs and operates the X account @MartinShkreli.

        21.    On April 13, 2024, the @MartinShkreli X account also responded to several other

 X accounts that had commented on Mr. Lloyd’s X post, stating:



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                a. “i can just upload the mp3s if you want? email addy?” The comment is available

                    at https://x.com/MartinShkreli/status/1779239054837465535. A true and

                    correct copy of Mr. Lloyd’s post and these comments is attached as Exhibit J.

                b. “just    give    me    your    email    lol[.]”   The   comment      is   available    at

                    https://x.com/MartinShkreli/status/1779239200530837574. A true and correct

                    copy of Mr. Lloyd’s post and these comments is attached as Exhibit K.

         22.     On May 13, 2024, a YouTube account named “OX Media Corporation” posted a

 video entitled “OXP 012 – Martin Shkreli proves that AI coin = scam, Wikipedia can’t measure

 and girls hate WuTang.” In the video, Shkreli made a number of comments regarding the album,

 including by stating “That was why I was mad at Hayden, because he was like, ‘I listened to the

 album you are not allowed to listen to anymore.’ And I was like, ‘Dude, you know I burned the

 album and sent it to like, 50 different chicks, right? Do you know how many blowjobs that album

 got me? You think I didn’t make a fucking copy of it? Are you joking?’ And the fucking nerd

 attitude of this Brooklyn hipster to tell me . . . . all he did was listen to it, and I was like, thousands

 of people have listened to it. I sent the mp3s to all these people.” The video is available at

 https://youtu.be/QpcYzfEA5nQ?si=Vo2RFjGvU194juQZ&t=12698.

         23.     On May 14, 2024, the @MartinShkreli X account posted a screenshot of

 PleasrDAO’s website, with the caption “look out for a torrent im sick of this shit @PleasrDAO[.]”

 The post is available at https://x.com/MartinShkreli/status/1790484137486217269. The

 @MartinShkreli X account also commented on this post, stating “ive already sent it to 50 ppl[,]”

 available at https://x.com/MartinShkreli/status/1790546247402578261. A true and correct copy of

 this post and comment is attached as Exhibit L.




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          24.    On June 9, 2024, the @MartinShkreli X account posted “well @pleasrdao blocked

  me from their account so I think I will play the album on spaces now,” available at

  https://x.com/MartinShkreli/status/1799871344944849333. Less than an hour later, the

  @MartinShkreli X account hosted a “Spaces” session entitled “Wu tang official listening party”

  and     tweeted     “Never        heard       before     wu     tang         stream,”        available    at

  https://x.com/MartinShkreli/status/1799871556316725666. Spaces is an X feature in which users

  can listen to and participate in live audio conversations. During his Spaces session, the

  @MartinShkreli X account played music from the Album that any participant could hear.

  According to X, 4.9 thousand listeners “tuned in.” Other X users commented on Shkreli’s posts,

  stating among other things, “This is Great!”, “Thanks for sharing. This is good!”, and “Yo Martin

  that was great any chance you doing another stream sometime with the other album?” A true and

  correct copy of these posts is attached as Exhibit M.

          25.    Shkreli has, at times, been a vocal opponent of Wu-Tang. Upon information and

  belief, a video on YouTube, dated January 28, 2016, depicts Martin Shkreli and several masked

  individuals talking about the Album and Wu-Tang Clan. In the video, Shkreli states that he will

  “erase” Wu-Tang member “Ghostface Killah” from the Album and “the record books of rap.” The

  video is available at https://www.youtube.com/watch?v=lI9jywQ4cgc.

          26.    Upon information and belief, an undated video on TMZ.com depicts Martin Shkreli

  using   the    Album’s   casing     as    a   beverage    coaster.     The     video    is    available   at

  https://www.tmz.com/watch/0-vzddg3rg/. The scene in question happens at the 3 minute and 6

  second mark.

  C.      The Album is Confidential, Proprietary and a Trade Secret

          27.    Upon information and belief, Jason Leopold, a reporter for Buzzfeed.com,

  submitted a FOIA request for various documents pertaining to the Album on August 4, 2021. The
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  Department of Justice responded to the request stating that it was withholding information

  responsive to the request under FOIA Exemption (b)(4), which “protects trade secrets and

  commercial or financial information obtained from a person that is privileged or confidential.” Mr.

  Leopold’s        article       describing        this       process       is       available        at

  https://www.buzzfeednews.com/article/jasonleopold/the-government-released-new-photos-of-

  wu-tang-clans-once. A true and correct copy of the FOIA correspondence Mr. Leopold posted to

  in this article is attached as Exhibit N.

         28.     PleasrDAO has never given Shkreli its consent to disclose or use the Album or its

  contents.

         29.     PleasrDAO’s ability to create commercial ecosystem experiences encouraging

  member participation and interaction in a music experience involving the Album largely depends

  on the Album remaining a piece of confidential proprietary commercial information through an

  ecosystem launch.

         30.     Were Shkreli to disseminate copies of the Album, it would greatly diminish the

  Album’s value, and would impair PleasrDAO’s ability to market, distribute, and deploy the

  Album’s potential commercial viability.

         31.     PleasrDAO intends to make commercial use of the Album in the near future.



  I declare under penalty of perjury that the foregoing is true and correct. Executed on June 10, 2024.


                                                 _________________________________
                                                 Matthew Matkov




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